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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

ELIA DATA OF TEXAS, LLC,

     Plaintiff,
                                                     CIVIL ACTION NO. 2:12-cv-320-MHS
     v.
                                                     JURY TRIAL DEMANDED
INTERNATIONAL BUSINESS
MACHINES CORP.,

     Defendant.


                       ORDER OF DISMISSAL WITH PREJUDICE

       CAME ON THIS DAY for consideration of the Stipulated Motion for Dismissal with

Prejudice of all claims and counterclaims asserted between plaintiff, Elia Data of Texas, LLC,

and defendant, International Business Machines Corp., in this case, and the Court being of the

opinion that said motion should be GRANTED, it is hereby

       ORDERED, ADJUDGED AND DECREED that all claims and counterclaims asserted in
    .
this suit between plaintiff, Elia Data of Texas, LLC, and defendant, International Business

Machines Corp, are hereby dismissed with prejudice, subject to the terms of that certain

agreement entitled “SETTLEMENT AGREEMENT” and dated July 15, 2013.

       It is further ORDERED that all attorneys’ fees and costs are to be borne by the party that

incurred them.

       IT IS SO ORDERED.

      SIGNED this 2nd day of August, 2013.




                                                        ____________________________________
                                                        MICHAEL H. SCHNEIDER
                                                        UNITED STATES DISTRICT JUDGE
